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      ALVARO OROSCO
 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                  Case No.:
      ALVARO OROSCO,
11                 Plaintiff,                       COMPLAINT FOR INJUNCTIVE
                                                    RELIEF AND DAMAGES FOR DENIAL
12          vs.                                     OF CIVIL RIGHTS OF A DISABLED
                                                    PERSON IN VIOLATIONS OF
13
                                                    1. AMERICANS WITH DISABILITIES
14                                                  ACT, 42 U.S.C. §12131 et seq.;
      JAVIER CAMARENA D/B/A
15    CAMARENA'S TIRES & MORE; and                  2. CALIFORNIA’S UNRUH CIVIL
      DOES 1 to 10,                                 RIGHTS ACT;
16
                   Defendants.                      3. CALIFORNIA’S DISABLED
17                                                  PERSONS ACT;
18                                                  4. CALIFORNIA HEALTH & SAFETY
                                                    CODE;
19
                                                    5. NEGLIGENCE
20
21
22
23
            Plaintiff ALVARO OROSCO (“Plaintiff”) complains of Defendants JAVIER
24
      CAMARENA D/B/A CAMARENA'S TIRES & MORE; and DOES 1 to 10
25
      (“Defendants”) and alleges as follows:
26
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                                           COMPLAINT - 1
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 1                                               PARTIES
 2             1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3    paraplegic, and is substantially limited in his ability to walk. Plaintiff requires the use of a
 4    wheelchair at all times when traveling in public.
 5             2.   Defendants are, or were at the time of the incident, the real property owners,
 6    business operators, lessors and/or lessees of the real property for a tire shop (“Business”)
 7    located at or about 1500 E. Ocean Ave., Lompoc, California.
 8             3.   The true names and capacities, whether individual, corporate, associate or
 9    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11    Court to amend this Complaint when the true names and capacities have been
12    ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
13    fictitiously named Defendants are responsible in some manner, and therefore, liable to
14    Plaintiff for the acts herein alleged.
15             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18    the things alleged herein was acting with the knowledge and consent of the other
19    Defendants and within the course and scope of such agency or employment relationship.
20             5.   Whenever and wherever reference is made in this Complaint to any act or
21    failure to act by a defendant or Defendants, such allegations and references shall also be
22    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23    and severally.
24                                  JURISDICTION AND VENUE
25             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27    seq.).
28




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 1          7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2    arising from the same nucleus of operating facts, are also brought under California law,
 3    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4    54, 54., 54.3 and 55.
 5          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7    property which is the subject of this action is located in this district, Santa Barbara
 8    County, California, and that all actions complained of herein take place in this district.
 9                                      FACTUAL ALLEGATIONS
10          10.    In or about June of 2024, Plaintiff went to the Business.
11          11.    The Business is a tire shop business establishment, open to the public, and is
12    a place of public accommodation that affects commerce through its operation. Defendants
13    provide parking spaces for customers.
14          12.    While attempting to enter the Business during each visit, Plaintiff personally
15    encountered a number of barriers that interfered with his ability to use and enjoy the
16    goods, services, privileges, and accommodations offered at the Business.
17          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18    included, but were not limited to, the following:
19                 a.     Defendants failed to comply with the federal and state standards for
20                        the parking space designated for persons with disabilities. Defendants
21                        failed to provide the parking space identification sign with the
22                        International Symbol of Accessibility.
23                 b.     Defendants failed to comply with the federal and state standards for
24                        the parking space designated for persons with disabilities. Defendants
25                        failed to post required signage such as “Van Accessible,” “Minimum
26                        Fine $250” and “Unauthorized Parking.”
27                 c.     Defendants failed to comply with the federal and state standards for
28                        the parking space designated for persons with disabilities. Defendants



                                             COMPLAINT - 3
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 1                        failed to provide proper van accessible space designated for the
 2                        persons with disabilities as there were no “NO PARKING” markings,
 3                        blue borderlines, or blue hatched lines painted on the parking surface
 4                        to indicate the presence of an access aisle.
 5                 d.     Defendants failed to maintain the parking space designated for
 6                        persons with disabilities to comply with the federal and state
 7                        standards. Defendants failed to maintain the mark on the space with
 8                        the International Symbol of Accessibility, resulting in the paint
 9                        becoming severely deteriorated, hindering visibility.
10                 e.     Defendants failed to maintain the parking space designated for
11                        persons with disabilities to comply with the federal and state
12                        standards. Defendants failed to maintain the facility to be readily
13                        accessible, as there was a dumpster stored on the accessible parking
14                        stall.
15          14.    These barriers and conditions denied Plaintiff full and equal access to the
16    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
17    patronize the Business; however, Plaintiff is deterred from visiting the Business because
18    his knowledge of these violations prevents him from returning until the barriers are
19    removed.
20          15.    Based on the violations, Plaintiff alleges, on information and belief, that
21    there are additional barriers to accessibility at the Business after further site inspection.
22    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
23    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
24          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
25    knew that particular barriers render the Business inaccessible, violate state and federal
26    law, and interfere with access for the physically disabled.
27          17.    At all relevant times, Defendants had and still have control and dominion
28    over the conditions at this location and had and still have the financial resources to



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 1    remove these barriers without much difficulty or expenses to make the Business
 2    accessible to the physically disabled in compliance with ADDAG and Title 24
 3    regulations. Defendants have not removed such barriers and have not modified the
 4    Business to conform to accessibility regulations.
 5                                     FIRST CAUSE OF ACTION
 6           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 7          18.    Plaintiff incorporates by reference each of the allegations in all prior
 8    paragraphs in this complaint.
 9          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
10    shall be discriminated against on the basis of disability in the full and equal enjoyment of
11    the goods, services, facilities, privileges, advantages, or accommodations of any place of
12    public accommodation by any person who owns, leases, or leases to, or operates a place
13    of public accommodation. See 42 U.S.C. § 12182(a).
14          20.    Discrimination, inter alia, includes:
15                 a.    A failure to make reasonable modification in policies, practices, or
16                       procedures, when such modifications are necessary to afford such
17                       goods, services, facilities, privileges, advantages, or accommodations
18                       to individuals with disabilities, unless the entity can demonstrate that
19                       making such modifications would fundamentally alter the nature of
20                       such goods, services, facilities, privileges, advantages, or
21                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
22                 b.    A failure to take such steps as may be necessary to ensure that no
23                       individual with a disability is excluded, denied services, segregated or
24                       otherwise treated differently than other individuals because of the
25                       absence of auxiliary aids and services, unless the entity can
26                       demonstrate that taking such steps would fundamentally alter the
27                       nature of the good, service, facility, privilege, advantage, or
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 1                        accommodation being offered or would result in an undue burden. 42
 2                        U.S.C. § 12182(b)(2)(A)(iii).
 3                 c.     A failure to remove architectural barriers, and communication barriers
 4                        that are structural in nature, in existing facilities, and transportation
 5                        barriers in existing vehicles and rail passenger cars used by an
 6                        establishment for transporting individuals (not including barriers that
 7                        can only be removed through the retrofitting of vehicles or rail
 8                        passenger cars by the installation of a hydraulic or other lift), where
 9                        such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
10                 d.     A failure to make alterations in such a manner that, to the maximum
11                        extent feasible, the altered portions of the facility are readily
12                        accessible to and usable by individuals with disabilities, including
13                        individuals who use wheelchairs or to ensure that, to the maximum
14                        extent feasible, the path of travel to the altered area and the
15                        bathrooms, telephones, and drinking fountains serving the altered
16                        area, are readily accessible to and usable by individuals with
17                        disabilities where such alterations to the path or travel or the
18                        bathrooms, telephones, and drinking fountains serving the altered area
19                        are not disproportionate to the overall alterations in terms of cost and
20                        scope. 42 U.S.C. § 12183(a)(2).
21          21.    Where parking spaces are provided, accessible parking spaces shall be
22    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
23    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
24    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
25    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
26    be a van accessible parking space. 2010 ADA Standards § 208.2.4.
27          22.    Under the ADA, the method and color of marking are to be addressed by
28    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California



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 1    Building Code (“CBC”), the parking space identification signs shall include the
 2    International Symbol of Accessibility. Parking identification signs shall be reflectorized
 3    with a minimum area of 70 square inches. Additional language or an additional sign
 4    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 5    parking space identification sign shall be permanently posted immediately adjacent and
 6    visible from each parking space, shall be located with its centerline a maximum of 12
 7    inches from the centerline of the parking space and may be posted on a wall at the
 8    interior end of the parking space. See CBC § 11B-502.6, et seq.
 9          23.    Moreover, an additional sign shall be posted either in a conspicuous place at
10    each entrance to an off-street parking facility or immediately adjacent to on-site
11    accessible parking and visible from each parking space. The additional sign shall not be
12    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
13    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
14    designated accessible spaces not displaying distinguishing placards or special license
15    plates issued for persons with disabilities will be towed away at the owner’s expense…”
16    See CBC § 11B-502.8, et seq.
17          24.    Here, Defendants failed to provide the parking space identification sign with
18    the International Symbol of Accessibility. In addition, Defendants failed to provide the
19    signs stating, “Minimum Fine $250” and “Van Accessible.” Moreover, Defendants failed
20    to provide the additional sign with the specific language stating “Unauthorized vehicles
21    parked in designated accessible spaces not displaying distinguishing placards or special
22    license plates issued for persons with disabilities will be towed away at the owner’s
23    expense…”
24          25.    For the parking spaces, access aisles shall be marked with a blue painted
25    borderline around their perimeter. The area within the blue borderlines shall be marked
26    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
27    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
28    be painted on the surface within each access aisle in white letters a minimum of 12 inches



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 1    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
 2    11B-502.3.3.
 3          26.    Here, Defendants failed to provide a proper access aisle as there were no
 4    “NO PARKING” markings, blue borderlines, or blue hatched lines painted on the parking
 5    surface to indicate the presence of an accessible aisle.
 6          27.    The surface of each accessible car and van space shall have surface
 7    identification complying with either of the following options: The outline of a profile
 8    view of a wheelchair with occupant in white on a blue background a minimum 36” wide
 9    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
10    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
11    length of the parking space and its lower side or corner aligned with the end of the
12    parking space length or by outlining or painting the parking space in blue and outlining
13    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
14    occupant. See CBC § 11B-502.6.4, et seq.
15          28.    Here, Defendants failed to maintain the International Symbol of
16    Accessibility painted on the surface as required, resulting in the markings becoming
17    severely deteriorated, hindering visibility.
18          29.    At least one accessible route shall connect accessible building, facilities,
19    elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
20    accommodation shall maintain in operable working condition those features of facilities
21    and equipment that are required to be readily accessible to and usable by persons with
22    disabilities by the Act or this part. 28 C.F.R. 35.211(a).
23          30.    Here, Defendants failed to provide a facility that is readily accessible as
24    there was a dumpster obstructing the accessible parking stall.
25          31.    A public accommodation shall maintain in operable working condition those
26    features of facilities and equipment that are required to be readily accessible to and usable
27    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
28




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 1          32.      By failing to maintain the facility to be readily accessible and usable by
 2    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 3    regulations.
 4          33.      The Business has denied and continues to deny full and equal access to
 5    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 6    discriminated against due to the lack of accessible facilities, and therefore, seeks
 7    injunctive relief to alter facilities to make such facilities readily accessible to and usable
 8    by individuals with disabilities.
 9                                  SECOND CAUSE OF ACTION
10                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
11          34.      Plaintiff incorporates by reference each of the allegations in all prior
12    paragraphs in this complaint.
13          35.      California Civil Code § 51 states, “All persons within the jurisdiction of this
14    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
15    national origin, disability, medical condition, genetic information, marital status, sexual
16    orientation, citizenship, primary language, or immigration status are entitled to the full
17    and equal accommodations, advantages, facilities, privileges, or services in all business
18    establishments of every kind whatsoever.”
19          36.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
20    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
21    for each and every offense for the actual damages, and any amount that may be
22    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
23    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
24    attorney’s fees that may be determined by the court in addition thereto, suffered by any
25    person denied the rights provided in Section 51, 51.5, or 51.6.
26          37.      California Civil Code § 51(f) specifies, “a violation of the right of any
27    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
28    shall also constitute a violation of this section.”



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 1         38.    The actions and omissions of Defendants alleged herein constitute a denial
 2   of full and equal accommodation, advantages, facilities, privileges, or services by
 3   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 4   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 5   51 and 52.
 6         39.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 7   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 8   damages as specified in California Civil Code §55.56(a)-(c).
 9                                 THIRD CAUSE OF ACTION
10                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
11         40.    Plaintiff incorporates by reference each of the allegations in all prior
12   paragraphs in this complaint.
13         41.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
14   entitled to full and equal access, as other members of the general public, to
15   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
16   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
17   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
18   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
19   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
20   places of public accommodations, amusement, or resort, and other places in which the
21   general public is invited, subject only to the conditions and limitations established by
22   law, or state or federal regulation, and applicable alike to all persons.
23         42.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
24   corporation who denies or interferes with admittance to or enjoyment of public facilities
25   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
26   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
27   the actual damages, and any amount as may be determined by a jury, or a court sitting
28   without a jury, up to a maximum of three times the amount of actual damages but in no



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 1   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 2   determined by the court in addition thereto, suffered by any person denied the rights
 3   provided in Section 54, 54.1, and 54.2.
 4         43.    California Civil Code § 54(d) specifies, “a violation of the right of an
 5   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 6   constitute a violation of this section, and nothing in this section shall be construed to limit
 7   the access of any person in violation of that act.
 8         44.    The actions and omissions of Defendants alleged herein constitute a denial
 9   of full and equal accommodation, advantages, and facilities by physically disabled
10   persons within the meaning of California Civil Code § 54. Defendants have
11   discriminated against Plaintiff in violation of California Civil Code § 54.
12         45.    The violations of the California Disabled Persons Act caused Plaintiff to
13   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
14   statutory damages as specified in California Civil Code §55.56(a)-(c).
15                                FOURTH CAUSE OF ACTION
16                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
17         46.    Plaintiff incorporates by reference each of the allegations in all prior
18   paragraphs in this complaint.
19         47.    Plaintiff and other similar physically disabled persons who require the use of
20   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
21   such facility is in compliance with the provisions of California Health & Safety Code §
22   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
23   provisions of California Health & Safety Code § 19955 et seq.
24         48.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
25   that public accommodations or facilities constructed in this state with private funds
26   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
27   Title 1 of the Government Code. The code relating to such public accommodations also
28   require that “when sanitary facilities are made available for the public, clients, or



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 1   employees in these stations, centers, or buildings, they shall be made available for
 2   persons with disabilities.
 3          49.    Title II of the ADA holds as a “general rule” that no individual shall be
 4   discriminated against on the basis of disability in the full and equal enjoyment of goods
 5   (or use), services, facilities, privileges, and accommodations offered by any person who
 6   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 7   Further, each and every violation of the ADA also constitutes a separate and distinct
 8   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 9   award of damages and injunctive relief pursuant to California law, including but not
10   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
11                                   FIFTH CAUSE OF ACTION
12                                         NEGLIGENCE
13          50.    Plaintiff incorporates by reference each of the allegations in all prior
14   paragraphs in this complaint.
15          51.    Defendants have a general duty and a duty under the ADA, Unruh Civil
16   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
17   to the Plaintiff.
18          52.    Defendants breached their duty of care by violating the provisions of ADA,
19   Unruh Civil Rights Act and California Disabled Persons Act.
20          53.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
21   has suffered damages.
22                                     PRAYER FOR RELIEF
23          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
24   Defendants as follows:
25          1.     For preliminary and permanent injunction directing Defendants to comply
26   with the Americans with Disability Act and the Unruh Civil Rights Act;
27          2.     Award of all appropriate damages, including but not limited to statutory
28   damages, general damages and treble damages in amounts, according to proof;



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 1         3.     Award of all reasonable restitution for Defendants’ unfair competition
 2   practices;
 3         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 4   action;
 5         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 6         6.     Such other and further relief as the Court deems just and proper.
 7                              DEMAND FOR TRIAL BY JURY
 8         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 9   demands a trial by jury on all issues so triable.
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11   Dated: September 23, 2024                      SO. CAL. EQUAL ACCESS GROUP
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13
14                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
15                                                  Attorneys for Plaintiff
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